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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )        2:07-CR-00048-WBS
                                   )
12             Plaintiff,          )        PRELIMINARY ORDER OF
                                   )        FORFEITURE AND PUBLICATION
13        v.                       )        THEREOF
                                   )
14   ROMAN KARELOV,                )
                                   )
15             Defendant.          )
     ______________________________)
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Roman Karelov, it is
19   hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
21   2461(c), defendant Roman Karelov’s interest in the following
22   property shall be condemned and forfeited to the United States of
23   America, to be disposed of according to law:
24        a.    Approximately $11,050.00 in U.S. Currency seized
                at the residence of ROMAN KARELOV at 9 Purple Plum
25              Court, Baltimore County, Maryland.
26        2.   The above-listed property constitutes or is derived from
27   proceeds traceable to a violation of 18 U.S.C. §§ 371 and 2314.
28        3.   Pursuant to Rule 32.2(b), the Attorney General (or a

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 1   designee) shall be authorized to seize the above-described
 2   property.   The aforementioned property shall be seized and held
 3   by the United States Marshals Service, in its secure custody and
 4   control.
 5        4.     a.   Pursuant 28 U.S.C. § 2461(c) incorporating 21
 6   U.S.C. § 853(n) and Local Rule 83-171, the United States
 7   forthwith shall publish at least once for three successive weeks
 8   in The Baltimore Sun (Baltimore County), a newspaper of general
 9   circulation located in the county in which the above-described
10   property was seized, notice of this Order, notice of the Attorney
11   General’s intent to dispose of the property in such manner as the
12   Attorney General may direct, and notice that any person, other
13   than the defendant, having or claiming a legal interest in the
14   above-listed forfeited property must file a petition with the
15   Court within thirty (30) days of the final publication of the
16   notice or of receipt of actual notice, whichever is earlier.
17               b.   This notice shall state that the petition shall be
18   for a hearing to adjudicate the validity of the petitioner's
19   alleged interest in the property, shall be signed by the
20   petitioner under penalty of perjury, and shall set forth the
21   nature and extent of the petitioner's right, title, or interest
22   in the forfeited property and any additional facts supporting the
23   petitioner's claim and the relief sought.
24               c.   The United States may also, to the extent
25   practicable, provide direct written notice to any person known to
26   have alleged an interest in the property that is the subject of
27   the Order of Forfeiture, as a substitute for published notice as
28   to those persons so notified.

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 1        5.   If a petition is timely filed, upon adjudication of all
 2   third-party interests, if any, this Court will enter a Final
 3   Order of Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
 4   U.S.C. § 2461(c), in which all interests will be addressed.
 5        SO ORDERED this 23rd day of October, 2007.
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